
PER CURIAM.
Michael T. Braggs petitions this court for a writ of mandamus, asking this court to compel disposition of a petition for writ of habeas corpus which is pending before the circuit court in case number F97-29056. On the face of the record before *696us, we can find no resolution of the habeas corpus petition filed September 10, 2004.
Accordingly, we grant the mandamus petition and direct the circuit court to either deny the habeas petition or issue an order to the State to show cause within thirty days of issuance of mandate in this cause. If a response is ordered, a final disposition of the habeas petition shall be made within thirty days of the filing of petitioner’s reply, or the expiration of the time for filing of such a reply.
Petition Granted.
